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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA      )
                              )
     v.                       ) CASE NO. 2:24-cr-125-ECM-KFP
                              )
KYLE BENJAMIN DOUGLAS CALVERT )

                                    PROTECTIVE ORDER

        Upon consideration of the Government’s Motion for Protective Order, and for good cause

shown, it is hereby ORDERED pursuant to Federal Rule of Criminal Procedure 16(d)(1) that the

following shall control the handling of the Protected Discovery Material in the above-captioned

case.

        Protected Discovery Material to be provided to the defendant in this case will include,

among other things, documents and records that may contain personal and confidential information

of the defendant, other persons of interest, and witnesses, such as dates of birth, personal

identifiers, street addresses, phone numbers, etc. Due to the sensitive nature of the materials, the

Court places following restrictions on the use and disclosure of the materials:

           1. Counsel for the defendant may share the Protected Discovery Material only with

               counsel’s support staff and investigators or experts working with counsel (hereafter

               “the defense team”) to the extent necessary to provide a defense in this case,

               including any direct appeal.

           2. The defendant shall not retain any Protected Discovery Material inside of any jail

               or detention facility. The defendant shall only review the Protected Discovery

               Material inside of such a facility in the presence of a member of the defense team.
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   3. Members of the defense team may use the Protected Discovery Material to question

      witnesses to the extent necessary to prepare a defense in this case including showing

      the materials to such witnesses but shall not allow such witnesses to retain copies

      of the discovery unless the discovery is the witnesses’ own statements.

   4. Counsel for the defendant, prior to sharing any Protected Discovery Material with

      any member of the defense team, shall inform that person about the limitations set

      forth in this ORDER.

   5. Should the parties wish to attach any Protected Discovery Material to any pleadings

      filed with the court, those discovery materials shall be filed under seal. Similarly,

      the identities of other persons of interest or witnesses shall not be identified in

      public pleadings and shall only be referred to as persons of interest or witnesses.

   6. If defense counsel desires to disclose any Protected Discovery Material or make

      available or communicate the content of such discovery to any other person not

      described in this ORDER or for any purpose other than to prepare a defense in this

      criminal case, counsel must first advise the Government and the parties should

      attempt to reach an informal resolution of or agreement on the matter. If an

      agreement cannot be reached, counsel for the defendant shall apply to the Court for

      relief from this ORDER.

   7. This ORDER solely governs the defendant’s and defense team’s use of Protected

      Discovery Material specifically produced or made available by the Government in

      this criminal action. This ORDER does not limit the defendants’ and the defense

      teams’ use of documents that they might already possess prior to receiving
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      discovery or might obtain through other means.

   8. This ORDER shall survive the final termination of this case, including the direct

      appeal. Upon termination of this case and any direct appeal or other proceeding

      relating to the criminal action, counsel for the defendant shall return all copies of

      the Protected Discovery Material to the Government.

      DONE this ________ day of April 2024.



                                    _______________________________________
                                    UNITED STATES MAGISTRATE JUDGE
